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                                                            V
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTf,RN DTVISION        THOMAS G. BRUTON
                                                                            CLERK, U.S. DISTRICT COURT


CELESTE PEARSON and KRYSIAL SIMMS,                           )
                                                             )
       PLAINTIFtr'S,                                         \

%                                                             1:19-cv-06060
                                                              Judge Mary M. Rowland
BOARD OF TRUSTEES OF NORTHERN                                 Magistrate Judge Sheila M. Finnegan
ILLINOIS UNIVERSITY, NORTHORN
ILLINOIS UNIVERSITY COLLEGE OF LAW
LISA FREEMAN, (individually and in her
official capacity), LIZ WRIGHT (individually
and in her oflicial capacity), and KAREN BAKER
(individually and in her official capacity)

       DETENDANTS.
                                                                     PLAINTITF I}EMANDS
                                                                     JURY TRIAL




                                          COMPLAINT

       Now come the plaintiffs, Celeste Pearson and Krystal Simms, for their complaint against

Defendants Northern Illinois University College of Law, Board of Trustees of Northern Illinois

Universiry Lisa Freem an,LizWright, and Karen Baker; states as follows:

                                       INTRODUCTION

       This is an action to secure the protection ofand to redress deprivation and interference

with rights secured under the Americans with Disabilities Act and the Civil Rights Act. Plaintiff

Celeste Pearson, is an honorably discharged, disabled veteran. Krystal Simms is her youngest


daughter" and was a student at Northern   Illinois University. On the campus of Northern Illinois
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University, Pearson was subjected to harassment based on her disability status and race in

violation of 42 U.S.C   .   gl2l32,et   seq., 42 U.S.C. $1981, et seq, and42U.S.C. $1983, et seq.


Pearson and Simms were subjected to retaliation and intimidation. Defendants participated in,

facilitated, or failed to stop the harassment, retaliation, and intimidation, in violation of 42 U.S.

Code $12203, and further violation of 42 U.S.C. 912132, et seq., 42 U.S.C. $1981, et seq, and42

U.S.C. $1983. Defendants were also negligent in their duties, including the training and

supervision of employees. The Plaintiffs seek monetary and injunctive relief; including

pecuniary and non-pecuniary damages, punitive damages, and compensatory damages to the

fullest extent allowed by law

                                              THE PABTIES

1.   PlaintiffCeleste Pearson (hereafter "Pe&rson") is a resident of Dupage County, Illinois.

2.   PlaintiffKrystal Simms (hereafter "simms") is a resident of Dupage County, Illinois.

3.   Defendant, the Board of Trustees of Northern Illinois University (hereafter "Board"), is a

     body politic duly promulgated by the State of        ilinois,   100   ILCS $ 685, and can sue and be

     sued.


4.   At all relevartt times the Defendant, Northern Illinois University (hereafter "MLf') and

     Northem Illinois University College of Law (hereafter
                                                           *COL") operated under the direction

     and control of the Defendant, the Board.

5.   At all relevant times, the Board had the power to employ individuals           as decision makers   to

     effectuate the rules and regulations    forNfU   and COL.




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6.      At all relevant times, Defendant Lisa C. Freeman (hereafter "Freeman") was employed by

        NIu, now as President (from September 2018), previously       as   Acting President (from July

        2017), and previously as Executive Vice President and Provost (from May 2014).

7   .   At all relevant times, Defendant Liz Wright (hereafter "Wright") was employed by NfU, now

        as the Executive Assistant   to President Freeman and previously as Executive Assistant to

        Provost Freeman.

8.      At all relevant times, Defendant Karen Baker (hereafter *Baket'') was employed by NIU,           as


        the Ethics and Compliance Ofiicer and Title IX Coordinator.

                                       .TURISDTCTTON AND       YpNrrp

9.      Jurisdiction is conferred upon this Court by 28 U.S.C. $ 1331 and 28 U.S.C. $1343. This

        Court also has supplemental jurisdiction over non-federal claims pursuant to 28 U.S.C.      $


        1367. Declaratory and Injunctive relief are authorized by 28 U.S.C. $ $ 2201 et. seq.


10. Venue      is appropriate in the Northern District of Illinois pursuant to 28 U.S.C. S 1391.

                                 coyrMoN TACTUAL ALLEGATTONS

u.      Pearson has been diagnosed with multiple disabilities and requires the services of a

        caregiver.

T2. Pearson's        daughter, Simms, has served as caregiver to Pearson for several years.

13.     During the summer of 2016 Simms applied fortransfer admission to NIU COL.

14. In August of 2016 Defendant COL sent Simms a letter stating that she had been accepted               for

        admission to COL.

15.     In August of ZAK Simms accepted the offer of admission to COL, and both Pearson and

        Simms relocated to Illinois.



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16.   From fall semester 201 6 to spring semester 2Al7 , Simms regularly attended classes at COL;

      between two to five days per week, for several hours per day.

t7. Due to Pearson's limited mobiliry serious medical conditions, and physical limitations,

      Simms was unable to leave Pearson alone for lengthy periods and at a substantial distance

      from NIU.

18. Pearson accompanied Simms whenever her daughter had a course or meeting at             NIU.

19. Pearson waited     in her vehicle while Simms was in a course or meeting; multiple issues made

      accessing an indoor seating   areaatMU overly diffrcult,   so that Pearson was confined to her


      vehicle while present on the campus of NIU.

20    Simms maintained proper campus parking permits for Pearson's vehicle while attending

      COL.

          couNT r - aMERrcANs wrrH prsABrLrTrES ACT                       (42 U.S.C. S 12132)

21. Plaintiffs repeat and re-allege the allegations in paragraphs l-20 as her allegations for this

      Count I, as if fully restated herein.

22. Both Titles II and III of the Americans with Disabilities Act prohibit    a covered   entity from

      discriminating against an individual based upon her disabilities.

23. PlaintiffPearson is disabled within the meaning of the Americans with Disabilities Act.

24. Pearson's disability prevented her from navigating the    NIU campus     so that she was forced     to

      wait for Simms in her vehicle.

25. Pearson experienced escalating harassment while present on the campus of NIU.

26. The harassment included multiple malicious calls to the NIU police, claiming Pearson and/or

      her vehicle as "suspicious" or not belonging on   NIU's campus.


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27. This harassment included abusive remarks and recording or photography by multiple

    individuals, at least one who was employed by NIU.

28. Pearson was repeatedly detained and questioned by the police        as   to her presence on campus.

29. Pearson was singled-out, insulted, and made to feel unwelcome and uneasy.

30. Pearson and Simms lodged complaints with various departments at NfU, including the

    ombudsman, the oflice of Ethics and Compliance, and the offrce of the provost; however, the

    harassment continued.

31. Defendants failed to investigate complaints that Pearson was being harassed while on the

    NTU campus.

32. Defendants failed to investigate the source of the caller or callers who, according to NIU

    police, repeatedly reported Pearson and/or her vehicle as "suspicious."

33. Defendants failed to stop the recurring police intrusions.

34. Defendants'treatment of Pearson was deliberate, willful and intentional,

35. Pearson has suffered damages as a result of Defendants'unlawful discrimination.

36. Simms has suffered damages      as a result of   Defendants'unlawful action or inaction.

        WHEREFORE, plaintiffrespectfully prays that this Honorable Court enter ajudgment in

her favor and against the defendants,   jointly   and severally, in the amount of $1,000,000.00   in

compensatory damages plus costs and such other and further relief as this Honorable Court may

deem   just and equitable.

       COUNT tr - AMERICANS WITH DISABILITIES ACT (42 U.S. Code $ 12203)

37" Plaintiffs repeat and re-allege the allegations inparagraphs 1-36 as her allegations for this

    Count [I, as if fully restated herein.
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38. The Americans with Disabilities Act prohibits a covered entity from retaliation against   an


    individual who has opposed violations of this Act.

39. The Americans with Disabilities Act prohibits a covered entity from coercion, intimidation,

    and interference with an individual who exercises their rights under this Act, or who


    encourages another to exercise their rights under this Act.

40. Plaintiffis disabled within the meaning of the Americans with Disabilities Act.

41. Pearson opposed the negative treatment that she experienced while on the Campus of NIU.

42. Pearson made complaints to multiple NIU and COL departrnents.

43. Pearson also advocated for her disabled daughter, who was experiencing problems in

    obtaining disability accommodations, by contacting disability rights organizations and NIU

    offi cial s for assistance.

44. Simms made several complaints to NIU ofiicials on behalf of Pearson and herself, and

    openly advocated for changes to NTU and COL practices.

45. The negative treatment Pearson experienced worsened after she began to make complaints.

46. Defendants retaliated against Pearson when they failed to investigate complaints that she was

    being harassed while on the NIU campus.

47. Defendants created a hostile environment on campus by tuming a blind eye to

    discrimination.

48. On several occasions, Pearson was humiliated and intimidated into parking her vehicle off-

    campus or secluding herself in locations where she might face less harassment.




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49. The actions of Defendants were intentional, deliberate, and intended to punish Pearson for

    exercising her rights under both the Americans with Disabilities Act and the Civil Rights Act,

    and to deter her from further exercising her rights.

50. The actions of Defendants were intentional, deliberate, and intended to punish Pearson         for

    advocating on behalf of Simms, for encouraging Simms to exercise her rights under both the

    Americans with Disabilities Act arrd the Civil Rights Act, and to deter Pearson and Simms

    from further exercising their rights.

5t The Defendants treated Pearson       less favorably than other, similarly-situated individuals who


    did not oppose harassment, who did not advocate for disability rights at NfU, and who did

    not file complaints to NIU, alleging discrimination.

52. Defendants NfU and COL should have known, or had knowledge of and were deliberately

    indifferent to the acts of retaliation, intimidation, and interference by its agents and

    employees.

53. Pearson has suffered damages     as a result   of Defendants'unlawful action or inaction.

54. Simms has suffered damages as a result of Defendants'unlawful action or inaction.

        WHEREFORE, plaintiffrespectfully prays that this Honorable Court enter a judgment in

her favor and against the defendants,   jointly    and severally, in the amount of $1,000,000.00   in

compensatory damages plus costs and such other and further relief as this Honorable Court may

deem   just and equitable.

                     COUNT     IU.   CTVIL RIGHTS ACT (42 U.S.C. € T9EI}

55. Plaintiffs repeat and re-alleges the allegations in paragraphs 1-53 as her allegations for this

    Count trI, as if fully restated herein.



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56. The Civil Rights Act prohibits a covered entity from discriminating against an individual

    based upon race, color, sex, national    origin and religion.

57. Pearson is an African-American woman.

58. Pearsoll was subjected to harassment while on the NIU campus.

59. The ongoing harassment was directly related to her race, color, and gender.

60. Defendants failed to investigate complaints that Pearson was being harassed while on the

    NIU campus.

61. Defendants failed to stop the recurring police intrusions

62. Defendants'treatment of Pearson was deliberate, willful and intentional,

63. Pearson has suffered damages as a result of Defendants'unlawful discrimination.

64. Simms has suffered damages     as a result of    Defendants'unlawful action or inaction.

        WHEREFORE, plaintiffrespectfully prays that this Honorable Court enter a judgment in

her favor and against the defendants,    jointly   and severally, in the amount of $1,000,000.00 in

compensatory damages plus costs and such other and further relief as this Honorable Court may

deem   just and equitable.

                     COUNT TV . CIVIL RIGHTS ACT (42 U.S.C. S IgEI}

65. Plaintiffrepeats and re-alleges the allegations in paragraphs 1-64      as her allegations   for this

    Count tV, as if fully restated herein.

66. The Civil Rights Act prohibits   a   public official from using their authority to deprive an

    individual of their rights.

67. The Defendants are employees of the state of Illinois, and the Board is a body politic duly

    promulgated by the State of Uinois; the Defendants are public ofiicials.



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68. Defendants failed to investigate complaints that Pearson was being harassed while on the

     NfU campus.

69. Defendants failed to stop the recuring police intrusions.

74. Defendants created a hostile environment on campus by turning a blind eye to

     discrimination.

71. Defendants'treatment of Pearson was deliberate, willful and intentional,

11   Pearson has suffered damages as a result of Defendants'unlawful actions.

73. Simms has suffered damages as a result of       Defendants'unlawful action or inaction.

        WHEREFORE, plaintiffrespectfully prays that this Honorable Court enter a judgment in

her favor and against the defendants,   jointly   and severally, in the amount of $1,000,000.00   in

compensatory damages plus costs and such other and further relief as this Honorable Court may

deem   just and equitable.

                                    COUNT     V. NEGLIGTNCE
74. Plaintiffrepeats and re-alleges the allegations in paragraphs l-73    as her allegations   for this

     Count IV, as if fully restated herein.

75. The Defendants are employees of the state of Illinois, and the Board is a body politic duly

     promulgated by the State of Illinois.

76. lt is a professional requirement of the Defendants to make sure that employees apply rules,

     policies, and laws equally to all citizens regardless of status.

77. It is a professional requirement of the Defendants to make sure that issues which fall under

     their oversight and authority are properly handled.

78. Defendants failed to train and properly supervise employees.


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79. Defendants failed to investigate complaints that Pearson was being harassed while on the

     NTU campus.

80. Defendants failed to investigate or stop the recurrent harassing police intrusions.


81. Defendants failed to investigate complaints that Pearsofl was being harassed by employees


     while on the NIU campus.

82. Pearson has suffered damages as a result of Defendants'unlawful actions.

83   Simms has suffered damages as a result of Defendants'unlawful action or inaction.

          WHEREFORE, plaintiffrespectfully prays that this Honorable Court enter a judgment in

her favor and against the defendants,      jointly   and severally, in the amount of $1,000,000.00   in

compensatory damages plus costs and such other and further relief as this Honorable Court may

deem   just and equitable-

                                couNT vr        - PVNTTTYE DAMAGES

84. Plaintiffrepeats and re-allege$ the allegations in paragraphs 1-83 as her allegations for &is

     Count VI, as if fully restated herein.

85. The intentional andlor retaliatory conduct against Pearson was so outrageous that malice

     toward Pearson should be implied.

86. Simms has suffered damages as a result of Defendants'unlawful action or inaction.

          WHEREFORE, Plaintiffrespectfully prays that this Honorable Court enter judgment in

her favor and against the defendants,      jointly   and severally in excess of $1,000,000.00, including:

     A.   An order compelling to cease and desist in their misconduct against the Plaintifi

     B.   Compensatory incidental, consequential and liquidated damages, and all other equitable

          and monetary relief   as   justice requires against Defendants;



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   C.   Punitive damages to be determined by the court and to the extent permitted by law;

   D.   Compensation for pain and suffering;

   E. All Court related fees and expenses;
   F. Prejudgement interest and
   G.   Such other and furttrer relief as this Honorable Court may deem just and equitable.




                                             Respectfu   lly Submitted,



Dated: September lOth, 2019

                                                             Plaintiffs
                                                             20 Danada Sq West #193
                                                             Wheaton, IL 60189
                                                             651-235-0681




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